           Case 8:21-ap-01097-SC Doc 42 Filed 10/07/22                                            Entered 10/07/22 21:12:19                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
Houser Bros. Co.,
       Plaintiff                                                                                                       Adv. Proc. No. 21-01097-SC
Gallian,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 05, 2022                                               Form ID: pdf031                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 07, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
dft                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Oct 06 2022 00:19:00      Jamie Lynn Gallian, 16222 Monterey Ln SP #376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
pla                            Houser Bros. Co.

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 07, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 5, 2022 at the address(es) listed
below:
Name                               Email Address
D Edward Hays
                                   on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                                   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Jeffrey I Golden (TR)
                                   lwerner@go2.law jig@trustesolutions.net;kadele@go2.law

Laila Masud
                                   on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
         Case 8:21-ap-01097-SC Doc 42 Filed 10/07/22                           Entered 10/07/22 21:12:19    Desc
                             Imaged Certificate of Notice                      Page 2 of 5
District/off: 0973-8                                         User: admin                                    Page 2 of 2
Date Rcvd: Oct 05, 2022                                      Form ID: pdf031                               Total Noticed: 1
United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 4
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    D. EDWARD HAYS, #162507
  1 ehays@marshackhays.com
    LAILA MASUD, #311731
  2 lmasud@marshackhays.com                                 FILED & ENTERED
    BRADFORD N. BARNHARDT, #328705
  3 bbarnhardt@marshackhays.com
    MARSHACK HAYS LLP                                             OCT 05 2022
  4 870 Roosevelt
    Irvine, CA 92620                                         CLERK U.S. BANKRUPTCY COURT
  5 Telephone: (949) 333-7777                                Central District of California
                                                             BY bolte      DEPUTY CLERK
    Facsimile: (949) 333-7778
  6
    Attorneys for Plaintiff,
  7 HOUSER BROS. CO. dba RANCHO DEL
    REY MOBILE HOME ESTATES
  8
                               UNITED STATES BANKRUPTCY COURT
  9
                   CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 10
     In re                                       Case No. 8:21-bk-11710-SC
 11
     JAMIE LYNN GALLIAN,                         Chapter 7
 12
                    Debtor.                      Adv. No. 8:21-ap-01097-SC
 13
                                                 ORDER APPROVING JOINT PRETRIAL
 14 HOUSER BROS. CO. dba RANCHO DEL REY          STIPULATION, AND SCHEDULING
     MOBILE HOME ESTATES,                        ORDER
 15
                    Plaintiff,                   Pretrial Conference:
 16
     v.                                          Date: September 27, 2022
 17                                              Time: 1:30 p.m.
                                                 Ctrm: 5C
 18 JAMIE LYNN GALLIAN,                          Address: 411 W. Fourth Street
                                                 Santa Ana, CA 92701
 19                 Defendant.
                                                 Trial:
 20                                              Date: February 23, 2023
                                                 Time: 9:30 a.m.
 21                                              Ctrm: 5C
                                                 Address: 411 W. Fourth Street
 22                                              Santa Ana, CA 92701
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                   ORDER APPROVING JOINT PRETRIAL STIPULATION, AND SCHEDULING ORDER
     4876-3232-1333v.1
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  1            On September 27, 2022, at 1:30 p.m., the Court held a pretrial conference in this adversary
  2 proceeding. Appearances were as stated on the record. The Court, for good cause and the reasons
  3 stated on the record during the pretrial conference, HEREBY ORDERS:
  4         1. The ³-RLQW3UHWULDO6WLSXODWLRQ´'RFNHW1R is approved;
  5         2. An in-person trial will begin on February 23, 2023, at 9:30 a.m., in Courtroom 5C;
  6         3. 7KH&RXUW¶VIROORZLQJSRVWHGSURFHGXUHVZLOODSSO\DQGEHVWULFWO\HQIRUFHG
  7                       -XGJH&ODUNVRQ¶V3URFHGXUHVIRU7ULDOE\'HFODUDWLRQRU
  8                       -XGJH&ODUNVRQ¶V5HJXODU3URFHGXUHVfor Trials and Evidentiary Hearings
  9         4. Trial briefs must be filed no later than 14 days prior to trial;
 10         5. All witnesses must be present at the start of trial;
 11         6. Jamie Lynn Gallian ³0V*DOOLDQ´ must submit all of her trial exhibits to counsel for
 12            +RXVHU%URV&RGED5DQFKR'HO5H\0RELOH+RPH(VWDWHV ³+RXVHU%URV.,´ and together
 13            ZLWK0V*DOOLDQWKH³3DUWLHV´) by October 7, 2022;
 14         7. The Parties shall submit a joint H[KLELWERRNFRQWDLQLQJHDFK3DUW\¶VWULDOH[KLELWVWRWKH
 15            Court no later than one week prior to trial;
 16         8. 7KH3DUWLHV¶GHDGOLQHWRILOHGLVSRVLWLYHPRWLRQVLQFOXGLQJ0V*DOOLDQ¶Vintended motion for
 17            judgment on the pleadings is October 4, 2022, at 5:00 p.m.;
 18         9. $Q\RSSRVLWLRQVWR0V*DOOLDQ¶VPRWLRQIRUMXGJPHQWRQWKHSOHDGLQJVPXVWEHILOHGE\
 19            October 18, 2022;
 20         10. Any replies to the motion for judgment on the pleadings must be filed by October 25, 2022;
 21            and
 22 / / /

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                                                              2
                     ORDER APPROVING JOINT PRETRIAL STIPULATION, AND SCHEDULING ORDER
      4876-3232-1333v.1
Case 8:21-ap-01097-SC Doc 42 Filed 10/07/22                       Entered 10/07/22 21:12:19              Desc
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  1       11. 7KHKHDULQJRQ0V*DOOLDQ¶VPRWLRQIRUMXGJPHQWRQWKHSOHDGLQJVZLOOEHKHOGYLD=RRP
  2           on November 1, 2022, at 1:30 p.m.
  3 IT IS SO ORDERED.
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        Date: October 5, 2022
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                    ORDER APPROVING JOINT PRETRIAL STIPULATION, AND SCHEDULING ORDER
      4876-3232-1333v.1
